Case 22-19361-MBK Doc 2467 Filed 12/09/24 Entered 12/09/24 16:32:59 Desc Main

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

George J. Gerro, Esq.

530 S. Glenoaks Blvd., Suite 200
Burbank, CA 91502

(818) 845-3030

Self-Represented

In Re:
BLOCKFI INC., e¢ ail,!

Debtors.

GEORGE J. GERRO’S OBJECTION TO FORM OF ORDER ENTERED ON
NOVEMBER 26, 2024

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JEANNE A, NADSITTON, CLERK
DEC -9 2024

Case No.: 22-19361 (MBK)
(Jointly Administered)

Chapter 11
Hearing Date: Nov. 7, 2024, 11:30 a.m. E.T.

Judge: The Honorable Michael B. Kaplan

George J. Gerro respectfully objects to the ORDER GRANTING IN PART AND

DENYING IN PART THE WIND-DOWN DEBTORS’ MOTION FOR ENTRY OF AN ORDER TO

SHOW CAUSE ON WHY GEORGE GERRO SHOULD NOT BE FOUND IN CONTEMPT AND

FOR SANCTIONS AND IN THE ALTERNATIVE, MOTION TO ENFORCE THE

CONFIRMATION ORDER [ECF No. 2456] (“Order”) on each of the following grounds:

- ! The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal
tax identification number, are: BlockFi Inc. (0015); BlockFi Trading LLC. (2487); BlockFi
Lending LLC (5017); BlockFi Wallet LLC (3231); BlockFi Ventures LLC (9937); BlockFi
International Ltd. (N/A); BlockFi Investment Products LLC (2422); BlockFi Services, Inc.
(5965) and BlockFi Lending IT LLC (0154). The location of the Debtors’ service address is c/o
M3 Partners, 1700 Broadway, 19% Floor, New York, NY 10019.

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1, The Order does not appear to comply with the requirements of D.N.J. LBR 9013-
4, since the Order was neither approved by Gerro, submitted to Gerro for his review, nor held for
the seven (7) days objection period.

2. Debtors did not file or serve any Certification Concerning Proposed Order (D.N.J.
Bankr. Ct., local mandatory form) with respect to the Order.

3. The Order does not strictly conform to the Court’s oral ruling during the
November 7, 2024 hearing. See Transcript regarding Hearing Held 11/07/24, filed with this

Court on November 13, 2024, ECF No. 2451.

Burbank, California /s/ =
Dated: November 27, 2024
George J. Gerro, Esq.
530 8. Glenoaks Blvd., Suite 200
Burbank, CA 91502
Phone: (818) 845-3030
Self- Represented

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